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           Exhibit 9
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    On happiness and Super Bowls




               FMIA
           WRITTEN BY Peter King                                                                                              June 10, 2019




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           Peter King is on vacation until July 15, and he lined up some guest writers to fill his Monday spot
           on Football Morning in America. Today, it’s Nick Hardwick, former Chargers center and current
           San Diego radio analyst. Previous guest columns: Fred Gaudelli (June 3).


           By Nick Hardwick
           This has been anything but a typical NFL offseason for me. If you follow me on either Instagram
           or Twitter, you know I recently undertook an intensive, six-week brain treatment protocol at the
           Brain Treatment Center where I live in San Diego. It’s an affiliate of the USC Center for
           Neurorestoration, a progressive brain health clinic focusing on the intersection of physics and
           neuroscience.

           I was turned on to the treatment from a great friend of mine, Pat Dossett, who spent a decade as
           a U.S. Navy SEAL. Upon his departure from the SEALs, he earned his MBA at the Wharton
           School of Business at the University of Pennsylvania, followed by several years working at
           Google. Pat is one of those people that when he offers advice, you take it, without thinking twice.

           While he was by all accounts succeeding in his post-military transition, he still didn’t feel like he
           was quite operating at nearly as high a cognitive level as he could be. From my perspective, it felt
           very familiar in my post-football life.




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           Post-NFL Brain Health

           Upon retiring in February 2015 after 11 seasons as an NFL center, all of them spent with the
           Chargers, I did my best to follow the counsel I received from coaches, the players union, and
           former teammates who had smoothly transitioned into the next phase of their post-playing lives.

           For starters, I almost immediately lost a good chunk of my playing weight. It wasn’t necessary to
           carry 295 pounds on my 6-4 frame, because I no longer was tasked with routinely fighting some
           of the baddest humans on the planet for three hours-plus. I dropped the weight fast and got down
           as low as 208 pounds at one point, but my wife, Jayme, didn’t really favor that version. So I
           regained some muscle and currently weigh a very comfortable 230 pounds or so.

           To keep busy and stay close to the game, I went to work almost immediately on the radio in San
           Diego, including at iHeart Radio, where I’ve hosted my own show since 2016. As part of the gig,
           I got to serve as the Chargers radio sideline reporter in 2015, and I spent the following two
           seasons in the booth as the team’s radio color analyst.



          “      Football forced Nick Hardwick into
                 competitive eating. When he stopped playing,
                 weight left: http://t.co/ObaGfBryzP
                 pic.twitter.com/hHnuSEfeg2 — Only In
                 Boston (@OnlyInBOS) June 5, 2015                                        “”
                                                                                            ”
           Those roles kept me engaged, and helped me challenge myself mentally. I felt as healthy as I had
           ever been since my freshman year of college, the year before I walked on and made the football
           team at Purdue. But like my Navy SEAL friend, Pat, I still felt I had more cognitive ability left
           untapped, because my brain wasn’t necessarily firing on all cylinders.

           Fortunately I was able to function because over the years I had hard-wired my mentality to
           continue to persevere through pain, discomfort, less than ideal situations and, to be honest, some
           states of depression I now recognize. I knew a certain amount of mental endurance was required
           after playing the game so long.

           But I also realized toughness alone wasn’t the answer. I came to realize and accept my fate that
           as a former football player, I had accumulated about 25,000-plus head hits over the course of my
           playing career, all at least equivalent to boxing jabs, with the occasional straight punch and
           uppercut thrown in for good measure.

           How did I get to that 25,000-plus estimate? I played 11 NFL seasons, for about 1,000 game



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           snaps per year. Add in another 1,000 snaps during training camps, not counting our offseason
           practices. And don’t forget the three years of college football I played, with similar snap totals, but
           rougher practices.

           It’s easy to see the hits accumulate quickly at the position I played. I was diagnosed with six
           verified concussions in the NFL, but I still never missed a game due to one of them, a gut-it-out
           approach I would not recommend to kids or anyone else. During the 2008 season in Kansas City,
           I was knocked out cold on the field for about 12 minutes, waking up on the X-ray table at
           Arrowhead Stadium with the technician asking me to turn on my right side for reasons I didn’t
           understand.

           “What?!’’ I thought for a moment I had broke my neck, but it turned out I had caught a hip to the
           head, delivered courtesy of Chiefs linebacker Rocky Boiman, whom I was blocking on a screen
           pass to Chargers fullback Jacob Hester.




           Nick Hardwick (61) estimates he accumulated around 25,000 head hits during his career as an offensive lineman. (Getty
           Images)

           While I accepted the damage that came with playing football for a living as part of the price paid,
           something hit home and came to a head for me at Super Bowl LIII in Atlanta this past winter. I
           was there covering the weeklong event for my radio station, XTRA 1360, and despite being at the

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           NFL’s glamor event, surrounded by the league’s football community, I found myself in one of
           those emotional troughs that occasionally came.

           I knew then that I had a decision to make and some sort of action to take. While there was no
           erasing the time I had spent banging heads and colliding with defenders—and I wouldn’t take it
           back if I could any how, because it was the time of my life with so many lessons learned—it
           wasn’t enough just to plow through the low ebbs in life.

           One of those lessons that football taught me came back to me, and suddenly seemed very handy:
           Do everything in your power today to ensure a positive outcome in the future. Those were words
           we learned and lived by each and every offseason, like the year the regular-season schedule
           came out and we found out the Chargers were in line to play the always tough Ravens, Colts and
           Patriots (who, damn it, had traded Richard Seymour to the Raiders, meaning we had to face him
           twice a year. But more on him later).

           With teams and opposing players like that on our schedule, the workout intensity always picked
           up in the offseason. The classroom prep was diligent. Film study went to a whole new level,
           because you had to prepare for the great challenges ahead. Those were the lessons I needed to
           remember and act on now.


           A Proactive Approach
           At age 37, I didn’t want whatever neurologic decline had already occurred to continue without me
           becoming more proactive. We’ve all been privy to the information out there about the damage
           football can cause to the brains and bodies of the men who traded in their health for some sweet
           paychecks in return. There have been some notably ugly stories and outcomes for some ex-
           players. To me, those are the cautionary tales we have to take to heart. You can’t just sit by and
           let things take their course.

           My friend and former Chargers teammate, Philip Rivers, used to call it the frog in hot water. You
           drop a frog in hot water and he immediately jumps out. But, if you put him in a pot of cool water
           and slowly turn the heat up, he will hang in there and keep cooking until it’s too late and he can’t
           get out. It’s the slow decline and complacency that catches up to you, and you have to be wary of
           it.

           While on a phone call one night during Super Bowl week from Atlanta with Jayme, who was back
           in San Diego being super mom to our two boys, (Hudson, 7; Teddy, 5), we mutually decided my
           emotional highs and lows were unnatural, unwanted, and unacceptable. Something beyond the
           current healthy lifestyle routine we had established had to be done, and soon.

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             nickhardwick

             Walk-Off Grand Slam Grins. That was a competitive weekend of baseball and it
             felt so good. Wait till we get Tatis back.
             : @jayme.hardwick
             #dad #sons #family #fans #friarfaithful #sandiego #california #sdlife #boys
             #baseball #healthy #lifestyle
             view all 21 comments

             Add a comment...


           That’s when I remembered my conversations with my Navy SEAL pal, Pat, and immediately


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           googled “Brain Treatment Center San Diego.” Two short weeks later, I walked in to a nondescript
           medical building in downtown San Diego and took a tour of the facility, which is operated by
           another former Navy SEAL who is passionate about helping Special Forces Operators restore the
           health of their brains.

           The center features an ultra-comprehensive rehabilitative/restorative program for those elite ex-
           soldiers, whose brains have seen and dealt with far worse scenarios than my own. Their sessions
           include daily stand-up paddle boarding sessions, art therapy, and, of course, the actual treatment
           of magnetic brain stimulation itself.

           The art therapy is what most interested and attracted me. Patients are taught a simple and
           repeatable method to paint that could be rapidly learned, allowing them to produce beautiful oils
           on canvas almost immediately. Very graphically, in their painting, you could see their brains and
           thought processes being restored to a healthier state. If they could go from the one extreme of
           dark, painful, and at times horrifying art to the other extreme of light and bright, I had to see what
           the treatment could do for me.


           The Treatment
           Two weeks went by and and I returned to the center on a Friday, finding myself sitting in a comfy
           Eames Lounge Chair with a cap on my head with about 30 holes in it, all filled with a transmitting
           gel, taking an EEG (electroencephalogram). This was the first step in the treatment. The test
           measures brain activity through brain waves, and in essence creates a map of where my brain’s
           health is currently.

           The first week of treatment went by without me having the chance to sit down with the doctor, to
           hear him explain my brain’s baseline results and come up with a plan of attack. Naturally, your
           mind starts to wander into dark places during times of waiting to hear back about test results. Do I
           have early onset dementia or Alzheimer’s? Is it Parkinson’s or ALS? Is it nothing at all? It felt
           good to be getting treatment, but the unknown was not a great place to dwell.

           Relief finally came with my first EEG analysis, and thankfully, none of my greatest fears were
           realized. My brain map showed abundantly high Theta wave activity, associated with a sleeping
           or meditative state—and I’m not a monk, so this wasn’t ideal—and low Alpha wave activity, which
           is where an active brain wants to be high. Ideally, I would have more Alpha waves and less Theta
           waves, along with more congruent wave transmission from the front to the back of the brain and
           from the left to the right hemisphere. As in all things, balance is key.




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           An interesting revelation is this: As you can see above, my right frontal lobe is where a significant
           portion of the damage was sustained. As a center, snapping with my right hand, and having a


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           behemoth defensive lineman lined up three inches from my face, unable to get my hand up
           before contact, my right temple became my defacto hand.

           For five days a week over six weeks, I went back and sat in that same chair, this time with an
           MeRT machine (Magnetic e-Resonance Therapy) on both the front and back of my head, sending
           magnetic stimulation into the targeted areas of my brain, at first to assemble neuronal activity,
           and then to mobilize it in the right pattern.

           The treatment felt like really strong eSTIM, if you’re familiar with that pain management tool. If
           you’re not, it was more like a penetrating, shocking sensation. You don’t feel it on your skin, but it
           felt as if someone was to be able reach their thumb and index fingers inside my skull and pinch
           the brain.

           I have to admit it was a little jarring at first. But I settled into the rhythm of the “pain” relatively
           quickly and eventually even started craving that sensation. Maybe because I knew it was the
           good kind of pain that led to necessary improvement.

           The ritual was this: A countdown timer on the computer would give me three seconds warning.
           Boop. Boop. Booooop. At that time, I was instructed to close my eyes and discontinue talking,
           texting, Instagramming, or whatever I was doing and simply allow my brain to receive the
           stimulation. The actual impulses were only fired for five to eight seconds out of every minute, for
           roughly 35 minutes per session.

           In between “shockings,’’ I got to know my clinicians, prepped for my radio show, or just took in the
           blue light (designed to help with regulating sleep patterns) that they would turn on for the morning
           treatments. About midway through each session, we would do a daily evaluation of where my
           level of stress, anxiety, pain, and happiness resided on that current day.

           It was tiring, and I’ve got a “tell” when I’m tired. My right eyelid gets really heavy and droops. It
           happens after really intense workouts, when I’m sleep deprived, or in this case, when my brain
           got a really good squeezing. As it was described to me, this treatment is a workout for the brain.
           In fact, they keep an abundance of sugary snacks on hand to replenish the brain’s sugar levels
           following the treatment.

           As athletes know, after a really intense anaerobic (explosive) workout, the body’s sugar reserves
           are depleted, and must be restored in order for rebuilding to take place. My eye would sag, and
           I’d get sleepy. Almost every day, I would go home and take a quick 20-30 minute nap, if possible,
           before I went to the radio station for my shift.




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           (Courtesy of Nick Hardwick)

           We did another EEG every two weeks to measure the change and progress that was being made
           in my brain. Within the first two weeks, during the neuronal assembly sessions, I noticed an
           increase in cognitive performance. It’s painfully easy to tell if I’m firing on all cylinders with my
           daily radio gig. Three hours of live interaction and conversation is a great barometer for checking
           in on the brain’s RAM (random access memory), and its processing speed.

           After two more weeks of treatment, I began noticing some slight disconnects, as the brain was
           mobilizing these newly assembled neurons into the right pattern. Thankfully, another two weeks
           later and my brain was totally mobilized. While it was tedious to be at a doctor’s office every day
           for six weeks, and the cost isn’t cheap, I found it to be a very effective treatment.

           The results showed there were improved physical changes in my brain activity following the
           treatment. My brain waves interacted in a notably more connected manner. The brain map shows
           more congruence from left to right and front to back, meaning it is more balanced.


           The Future
           I’m two or three months past my last treatment, and I can honestly say my brain is in a better
           place than it was before. The emotional highs and lows I was living with have been stabilized. My
           cognition took off during that period and it hasn’t slowed down since. Overall, I’d definitely
           recommend the treatment to other former football players.

           Eventually it would be nice if the NFL could figure out a way to have this, and other treatments



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           associated with the brain, as part of the “checking out” phase of a player’s career. Sure, there is
           the league’s Brain and Body Assessment program, of which I also took part. Measuring and
           knowing where you stand is great. But doing something to improve your position is even more
           critical.

           Taking charge of your situation, whatever it may be, is powerful and empowering in itself.
           Knowing that I didn’t quit, and will never stop seeking tools to help me repair and grow had its
           own positive benefits. That’s a version of the placebo effect. I’ve heard lots of research scientists
           say the placebo effect is roughly 30% effective in everything. I’m not labeling this a placebo
           treatment by any means. But I do know, when you fully commit yourself to a process, and
           completely believe in it and give up doubt, the outcomes of any treatment or plan has a far
           greater likelihood of achieving the desired outcome.

           So yes, some damage to my brain was sustained. Some of it, like the arthritis in my joints and
           back and neck that I wake up with every day aren’t going to just miraculously vanish. But, as they
           say with arthritis, the minute you stop moving, the worse it gets.

           I’m not sure if a former NFL player has ever lived to be 100, but that’s my goal. I may not get
           there of course. But every season you don’t set out to go 9-7 or to just make the playoffs. Hell no!
           You set out to win the Super Bowl. Every year. Living to 100 is my new Super Bowl.

           And it starts with ….. Do everything in your power today to ensure a positive outcome in the
           future.

           Here’s to your health.



           10 Things I Think I Think
                                                                                                                        10
           1. I think I’m not as good today as I will be tomorrow. That’s a philosophy that came to me
           after Philip Rivers and I flubbed a snap on Halloween in Kansas City on Monday Night Football in
           2010 that ended up costing us the game. We both struggled to comprehend what happened and
           to piece it all together in the aftermath. Yet we had to face our teammates and own up to being
           the goats (not the G.O.A.T.), and get ready to play again in the following weeks.

           2. I think people need to meet Philip Rivers. While I’m fairly sure the negative perceptions
           about Phil and his strong personality have lessened over the years, it bears saying here: If you
           ever met Rivers, you’d immediately fall in love with him as a human. One word describes him
           perfectly: pure. He’s pure of thought, pure of action, and pure in his passion. Go back through his
           15-year NFL tenure and I can guarantee you will not find a single teammate who has spoken
           poorly of him.



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           3. I think this when asked: What do I miss about being an NFL player? Everyone always
           says, “I miss the locker room.” I don’t miss the locker room. I miss the meeting room. I miss the
           urgency with which the football world moves. One game of pro football equals 10 games of Major
           League Baseball, and five games of both the NBA and NHL. Go on a 10-game losing streak in
           the NHL, and someone is getting fired. But a two-game losing streak in the NFL is a bad start to
           the season for the Patriots.

           Corporate America, of which I’m now loosely a part, has no idea what urgency, hustle, and
           timeliness look like. As my old college defensive coordinator, Brock Spack used to say, “Assess
           and elbows, men. Asses and elbows.” He wanted to see us digging trenches with some urgency.
           That’s the norm in football.

           4. I think this when it comes to the Patriots: As a player and opponent, I used to despise them,
           mostly because we were only able to beat them two times in my career, and only once with Tom
           Brady at quarterback. The other time was with Matt Cassel (in 2008). Do we even count that
           one? But now, I find myself cheering for them.

           For one thing, Brady has done a great job of allowing us access to him as a human. It’s easy to
           hate the machine. It’s hard to sustain hatred towards a human. I can’t believe I’m saying this
           publicly, but I devour any information I can get on the guy. He’s beyond impressive. And hell, so
           are the Patriots. There I said it. They are something to marvel at, learn from, and cheer on.
           Unless they’re playing my Chargers.




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           Richard Seymour. (Getty Images)

           5. I think it’s worth noting one more thing about the Patriots: Ex-Patriots defensive lineman
           Richard Seymour most likely won’t make the Pro Football Hall of Fame, because his numbers
           aren’t outrageously good. But I bet if you polled offensive linemen during his time in the league,
           there would be a high percentage of centers, left guards, and left tackles who would say, “There
           wasn’t a smarter, tougher, more physically imposing presence in the league than Richard
           Seymour.” He was in fact the only player I publicly talked trash to, after we lost to them in the AFC
           Championship game in 2007. I was immature and he played the game with his trademark
           instigating, stir-it-up style. Sorry Richard. Hope you’re well.

           6. I think parents are crazy. And we do it to ourselves. Yes, sports are important for all of the
           reasons we all know. But the idea that traveling all over the state when your kid is only eight to 10
           years old, because that’s going to get them into college and help them land a professional
           contract, is absolutely ludicrous.

           You’re far more likely to burn your child out on the sport they may have been passionate about
           than helping them start a career. Don’t put your own failures and ineptness as an athlete on your
           expectations and hopes for your child. If it’s meant to be, it will be. (I think I stole that line from
           Doris Day).



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           True story: I didn’t play football in high school. I was a high school wrestler who walked on to the
           Purdue football team my fourth semester. My left guard with the Chargers for many years, Kris
           Dielman, was a defensive lineman when he first showed at training camp. He got cut his rookie
           year and then was brought back as an offensive lineman a couple of weeks later. He wound up
           making four Pro Bowls and would’ve been a Hall of Famer if he didn’t have his career cut short by
           concussions. Go back and watch his tape if you want to see what my coaches would call “a blind
           dog in a meat market.” His was an impressive tenacity.

           Antonio Gates is going to be a Hall of Famer some day. But he didn’t play college football. The
           point being, if your child is good enough to make it at the college level or in any professional
           league, they will be found. Players are being drafted in the NFL now out of Canada. If they can
           find you in Canada, you can be found anywhere. My wife is Canadian, so I feel at liberty to take a
           jab. And Canadians are some of the nicest people on the planet.

           7. I think this on the topic of regrets about playing football: I have absolutely ZERO regrets
           about my time spent playing one of the most violent positions in all of sports. ZERO. First off, my
           health is in pretty good shape. Secondly, it was the absolute time of my life. Not many people get
           the thrill of running out of the tunnel with their name and number being blasted over the PA
           system, to the reception of cheers or boos of 70,000 friends, family members, and foes. Very few
           will understand what it’s like to look in a teammates’ eyes and without words they KNOW I will do
           anything to protect him, and he’d do the same.

           8. I think with football it’s a net positive by a wide margin. When the worth of football is being
           evaluated by skeptical parents and politicians, what gets lost in the conversation on the game’s
           health and safety issues comes down to a really simple question: Did it add more to your life or
           take away more? Without a doubt, it added more to my life. Financially it took me from the very
           middle class in Indiana to having my children in private school, living in paradise in San Diego,
           with a home, a wife, and a life that I probably don’t deserve.

           More importantly, it shaped me as a man. The urgency I spoke of earlier also pertains to the
           timeline with which life’s lessons were learned in the game. I’d always say at the end of the
           season every coach on our staff looked like they aged five years in about six months. But from a
           maturity standpoint, with the necessary learning of how to handle both success and defeat,
           football players can leave the game at age 30, with the wisdom of a much older man.

           9. I think this is my answer to the question: Would you let your kids play? I would, 100
           percent. Admittedly, immediately out of the league, I would’ve given a different answer than now.
           But the dust has settled after my retirement due to injury. As a former NFL player, if you allow it,
           the fear-mongering and incessant news cycle will absolutely swallow you alive. You can be
           consumed with negative thought patterns and get caught in the vortex of loathing, self doubt and
           regret.




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           While the negative press about the dangers of the sport has died down over the past couple of
           years thanks to the necessary rule changes the NFL implemented, our awareness is still
           heightened. The reality is players today do a better job of taking care of themselves and each
           other, while still maintaining the essence of a brutal sport.

           As is the case with all youth sports and activities in general, the interest needs to come from the
           child. FOOTBALL IS NOT FOR EVERYONE. It takes a certain type of human to enjoy throwing
           their body around and fighting for three hours at a time. But I assure you, such humans do exist,
           and it’s not because our Dads “made us do it.” I watch my sons in our trampoline, which serves
           as a defacto UFC ring. They look like Dominick Cruz and Urijah Faber. Moreover, they look like
           lion cubs getting after it. Being physical is part of their makeup.

           If they ask to play football, without hesitation I would say yes.

           10. I think my final point about football is this: Don’t try to change things that aren’t yours.
           If football isn’t your thing, like really YOUR THING, you have no business trying to change it or
           eliminate it. There’s no amount of reason that will help you understand why we continue to play
           the game amongst the mountain of evidence that informs us of the perils of the sport.

           We know it’s dangerous. We know there are potentially bad outcomes. That’s part of what makes
           it fun in the first place. We know there are only a small slice of folks who could survive the chaos
           we enjoy so much. We want to test our physical and mental endurance. We want to prove who is
           the alpha male. We want to establish dominance and break an opponent’s will. You may not
           understand that. You might even think it’s absurd.

           But people still ride motorcycles, jump out of planes, climb mountains, box, fight, swim with
           sharks, fly small planes, run 100-mile races (while impressive, not healthy), surf 100-foot waves,
           and any other activity you want to mention that also has mountains of evidence to steer
           participants away from them. In reality, it’s because there’s no money associated with them or no
           platform to gain attention from in explaining why nobody is leading campaigns against those
           dangerous activities.

           Football gives football players what they want out of their life experience. Further, for even a more
           select few, it gives them what they NEED in life.

           If it isn’t yours in the first place, it’s not for you to understand, change, or eliminate. Just accept it
           and move along people.



           One More Thing

           Former Chargers quarterbacks coach John Ramsdell gave us a great bit of advice that really


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           pertains to everything: “If your happiness depends on if you ever win the Super Bowl, you’re
           setting yourself up to be miserable.”

           It’s a perfect confluence of events that leads to a Super Bowl championship team. With its single-
           elimination playoff system, football, more than any other professional sport, has a large element
           of good fortune involved. The best team more often than not wins a seven-game series. But in
           football, with an oblong ball that doesn’t bounce predictably, in a game played, at times in the
           elements, by 11 emotional characters, and judged by humans; the opportunity for upsets and
           surprise outcomes is high.

           Don’t get me wrong. Having a Super Bowl experience would’ve been amazing, I’m sure of that.
           But in no way would I be a better or happier person today than I am had I won a Super Bowl ring
           (or even six). Living like a champion doesn’t require being a champion. Find your purpose.
           Pursue it like a champion. Then you’ll find your happiness.

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           19 responses to “FMIA Guest: Nick Hardwick on Taking Proactive Approach to Brain Health”

             oreilly19 says:
             June 10, 2019 at 1:01 am

             I miss Peter King’s writing because I’ve read his stuff for a dozen or so years. However, this
             article had me captivated. Love the Rivers’ story and the sadness that comes with being an O-
             lineman post-NFL. Great stuff! Please fill in for Peter another time.

                 166         4     Rate This

             saxsexsixsoxsux says:
             June 10, 2019 at 5:50 am

             Nick has been my favorite offensive lineman since early in his career and was the self anointed
             bodyguard to Rivers the entire time. He never took a play off and had the mental and physical
             capacity to keep his game at a high level despite any injury he was suffering at the time.
             Watching his post playing career take off has been as enjoyable as watching him play
             (although I was just as shocked as his wife when he lost 80 pounds in only a few months) and
             I’m glad he’s taking the steps to ensure his health. Please write more Nick, your perspective is
             always a welcome sight. Maybe some color commentary too? Thank you for your contribution
             to the game and the Chargers fans.

                 97      2        Rate This

             ahzroc says:


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